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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

TRACY WALKER,

       Plaintiff,

       v.                                                  Case No. 1:14-cv-03823-MHC-JFK

PORTFOLIO RECOVERY
ASSOCIATES, LLC,

       Defendant.

                             NOTICE OF VOLUNTARY DISMISSAL

     TRACY WALKER (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and pursuant to

FRCP 41(a)(1)(A) (Dismissal of Actions—Voluntary Dismissal By Plaintiff Without Court Order)

voluntarily dismisses, with prejudice, PORTFOLIO RECOVERY ASSOCIATES, LLC.

(Defendant), in this case.

               Both sides to bear their own costs and expenses.

DATED: May 1, 2015                        RESPECTFULLY SUBMITTED,

                                     By: /s/ Shireen Hormozdi
                                           Shireen Hormozdi, Esq.
                                           Attorney for Plaintiff
                                           Krohn & Moss, Ltd.
                                           10474 Santa Monica Blvd., Suite 405
                                           Los Angeles, CA 90025
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2015, I electronically filed the foregoing Notice of

Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

Notice was submitted to all parties by way of the Court’s CM/ECF System.


                                                            /s/ Shireen Hormozdi
                                                            Shireen Hormozdi
                                                            Attorney for Plaintiff




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